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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 INMAR, INC. and COLLECTIVE BIAS, INC.,

                               Plaintiffs,
                                                              Case No: 18-cv-2306
            v.
                                                              Judge Charles R. Norgle
 MONICA MURPHY VARGAS and MLW
 SQUARED, INC., d/b/a AHALOGY,

                               Defendants.


              DEFENDANT AHALOGY’S ANSWER TO THE COMPLAINT
                        AND AFFIRMATIVE DEFENSES

       Defendant MLW Squared, Inc., d/b/a Ahalogy (“Ahalogy”), by its attorneys, for its Answer

and Affirmative Defenses to the Complaint for Injunctive and Other Relief filed by Plaintiffs

Inmar, Inc. (“Inmar”) and Collective Bias, Inc. (“Collective Bias”), states as follows:

                                 NATURE OF THE ACTION

        1.    This is a case about a former employee violating her non-compete, non-solicitation,
and non-disclosure of confidential information agreements with her former employer; stealing
from that former employer; and her new employer assisting, encouraging, and benefitting from
that former employee’s unlawful conduct.

ANSWER:          Ahalogy denies the allegations contained in Paragraph 1.


       2.     Defendant Murphy was an employee of Plaintiffs for approximately two years,
during which time she had access to and made use of Plaintiffs’ confidential and proprietary
information in the course of her employment. Consequently, she was asked, and agreed, to be
bound by contracts with Plaintiffs that required her to maintain the confidentiality of that
information during and after her employment. Plaintiffs have learned, however, that
notwithstanding those agreements, Defendant Murphy stole that information and used it for her
own benefit and that of her new employer, Defendant Ahalogy.
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ANSWER:         Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in the first two sentences of Paragraph 2, and therefore denies these

allegations. Ahalogy denies the allegations contained in the third sentence of Paragraph 2.


        3.      Furthermore, Defendant Murphy also promised that if she left the employment of
Plaintiffs, she would not immediately go to a competitor or attempt to steal Plaintiffs’ clients.
Plaintiffs have learned that Defendant Murphy violated those promises, too—after she left
Plaintiffs, she accepted a position at Defendant Ahalogy (a company she knew was a direct
competitor of Plaintiffs) and began stealing and attempting to steal Plaintiffs’ confidential and
proprietary information and clients.

ANSWER:         Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in the first sentence of Paragraph 3, and therefore denies these

allegations. Ahalogy denies the allegations contained in the second sentence of Paragraph 3.


         4.    In sum, Defendants Murphy and Ahalogy have engaged in a systemic and unlawful
effort to undermine Plaintiffs’ business. Plaintiffs are entitled to an injunction to stop this activity,
and damages to compensate them for it.

ANSWER:         Ahalogy denies the allegations contained in Paragraph 4.


                                  JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
Count One is brought pursuant to the federal Defend Trade Secrets Act and Count Five is brought
pursuant to the federal Computer Fraud and Abuse Act, and pursuant to 18 U.S.C. § 1836(c), which
provides that “[t]he district courts of the United States shall have original jurisdiction of civil
actions brought under [the Defend Trade Secrets Act].”

ANSWER:         Ahalogy admits the allegations contained in Paragraph 5.


       6.     This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1367 because
Counts Two through Four and Counts Six through Ten are together related to and form part of the
same case and controversy as Counts One and Five.

ANSWER:         Ahalogy admits the allegations contained in Paragraph 6.




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       7.      The Court has personal jurisdiction over the Defendants.

ANSWER:        Ahalogy admits the allegations contained in Paragraph 7.


       8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a
substantial part of the events or omissions giving rise to the claims occurred in this District and a
substantial part of property that is the subject of the action is situated in this District.

ANSWER:        Ahalogy admits the allegations contained in Paragraph 8.


                                            PARTIES

       9.     Plaintiff Inmar is a North Carolina Corporation. Its primary place of business and
corporate headquarters is located at 635 Vine St., Winston Salem, North Carolina.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 9, and therefore denies these allegations.


       10.     Plaintiff Collective Bias is a Delaware Corporation. Its primary place of business
and corporate headquarters is located at 1750 S. Osage Springs Dr., Rogers, Arkansas. It is a
subsidiary of Inmar.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 10, and therefore denies these allegations.


       11.     Defendant Murphy is an individual and resident of Illinois.

ANSWER:        Ahalogy admits the allegations contained in Paragraph 11.


       12.    Defendant Ahalogy is a Delaware Corporation. Its primary place of business and
corporate headquarters is located at 3197 Linwood Ave., Cincinnati, Ohio.

ANSWER:        Ahalogy admits the allegations contained in Paragraph 12.


                                              FACTS

Collective Bias and its Business

        13.   Collective Bias is an influencer marketing company based in Arkansas with other
offices and employees in San Francisco, Minneapolis, Chicago, Cincinnati, and New York City.

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It was one of the first companies to enter the modern influencer-marketing space in 2009, and it is
a leader in modern influencer marketing and its measurement.

ANSWER:          Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 13, and therefore denies these allegations.


       14.      Influencer marketing is a form of marketing where a seller leverages the popularity
and credibility of specific individuals to market a product in a testimonial manner.

ANSWER:          Ahalogy denies the allegations set forth in Paragraph 14 as an incomplete and

inaccurate characterization of the form and history of “influencer marketing.”


        15.     Traditional influencer marketing often took the form of celebrity endorsements of
products in marketing and advertising materials, wherein a celebrity (presumed to be influential
based on that celebrity) received payment to endorse a product, and that endorsement was placed
in traditional mass media (a television advertisement or a magazine).

ANSWER:          Ahalogy denies the allegations set forth in Paragraph 15 as an incomplete and

inaccurate characterization of the form and history of “traditional influencer marketing.”


       16.     Modern influencer marketing, however, eschews that model in favor of using a
broader array of individuals who wield measurable influence (through “likes” and “followers”, for
example) on a broader array of platforms, particularly social media (such as Facebook, Instagram,
Twitter, Snapchat, Pinterest, YouTube, and various blogs).

ANSWER:          Ahalogy denies the allegations set forth in Paragraph 16 as an incomplete and

inaccurate characterization of the form and history of “modern influencer marketing.”


        17.      Traditional influencer marketing is relatively simple; it might involve filming a
television commercial in which a celebrity endorses a product that the celebrity is seen using (such
as Lucille Ball and Desi Arnaz endorsing Phillip Morris brand cigarettes during the I Love Lucy
television program)1. The message is simple: someone famous, wealthy, or attractive (and likely
all three) uses the product, and if you want to be famous, wealthy, and/or attractive (or perceived
as such), you should use the product, too.




1
    https://www.youtube.com/watch?v=z1ALtcAO69M

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ANSWER:            Ahalogy denies the allegations set forth in Paragraph 17 as an incomplete and

inaccurate characterization of the form and history of “traditional influencer marketing.”


       18.     Much of modern influencer marketing, on the other hand, is more complex and the
message involves more substance: the premise is that someone who is a lot like you (i.e., who
shares your background, interests, and/or lifestyle) shows you that they use a product, explains
how and why they use that product in their everyday life, and explains how and why you might
want to, too. Modern influencer marketing also often uses dozens of influencers for a particular
campaign as opposed to using a single celebrity endorser.

ANSWER:            Ahalogy denies the allegations set forth in Paragraph 18 as an incomplete and

inaccurate characterization of the form of “modern influencer marketing.”


        19.     For example, http://millionmoments.net is a blog written by “Jess,” who describes
herself in part as follows:

           I’m Mama to Judah and Kaia, two crazy kids that rock my world. I’m a huge DIY
           fan who loves working with my hands. My garden is my pride and joy, my camera
           goes just about everywhere I go. A Million Moments is a blog about family, food,
           crafts, travel, and all things creative with an emphasis on stellar photography. I am
           passionate about vegetarian cooking and providing a full, natural and fun life for
           my kids the best way I know how. We live a laid back life, we love the outdoors,
           and trying new things is deeply important to us.2

ANSWER:            Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 19, and therefore denies these allegations.


       20.     When a Collective Bias client wanted to promote its products through influencer
marketing, Collective Bias coordinated with Jess and influencers like her, and Jess and those other
influencers authored blog posts explaining what they liked about the product and ways to use the
product (in Jess’s case, by providing step-by-step instructions for creating a gift basket featuring
the product).3

ANSWER:            Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 20, and therefore denies these allegations.




2
    http://millionmoments.net/about
3
    http://millionmoments.net2013/12/adorable-last-minute-diy-gift-bigelow-tea.html

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        21.      This type of marketing activity is much more targeted and its impact much more
measurable. To be most effective, it requires (i) a detailed understanding of the sellers’ business
and product or service being offered (in order to identify influencers who might be interested in
the product or service and able to credibly represent their interest in and use of the product) and
(ii) familiarity and relationships with many thousands of influencers and an understanding of their
followers (in order to identify which would most effectively reach buyers of the product or
service).

ANSWER:        Ahalogy denies the allegations contained in Paragraph 21.


       22.    In order to sell one’s influencer marketing services effectively, one must also
research and develop contacts among the sellers and have a thorough understanding of their
business and marketing plans and priorities.

ANSWER:        Ahalogy admits one must develop contacts among sellers and denies the

remaining allegations contained in Paragraph 22.


        23.     Collective Bias has spent years and millions of dollars not only developing the
knowledge of products and influencers in order to offer the best services to its clients, but also
developing contacts at major brands and building dossiers regarding those brands in order to most
effectively sell its influencer marketing services to those brands.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 23, and therefore denies these allegations.


       24.     For example, Collective Bias has invested significant time and money in
developing its Social Fabric® community, Shopper Social Media™ platform, and Prescriptive
IQ™ platform.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 24, and therefore denies these allegations.


        25.     Social Fabric® is a technology platform that was created using proprietary research
strategies to help Collective Bias identify influencers for particular products and services, as well
as to provide opportunities for those influencers.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 25, and therefore denies these allegations.



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        26.    Shopper Social Media™ is a technology platform that leverages a variety of data
points (including data generated by Social Fabric®) to improve efficiency and effectiveness of
influencer marketing efforts.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 26, and therefore denies these allegations.


        27.    Prescriptive IQ™ is a platform that analyzes and synthesizes purchase data from
Inmar, social data, market research, and engagement data in order to generate a marketing strategy
recommendation (i.e., which influencers to use in order to ensure that the campaign reaches the
right audience with the right content in the right place at the right time).

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 27, and therefore denies these allegations.


        28.     These services were built with proprietary research and they use proprietary
methods to harness the power of consumer recommendation and endorsement across thousands of
websites and millions of social media connections to connect authentic, real-life influencer content
with key audiences using advanced analytics and behavior tracking. These platforms (along with
the data gathered to build them and the data gathered through them) set Collective Bias apart from
its competitors by enabling it to provide services and insights at a level that its competitors cannot.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 28, and therefore denies these allegations.


Collective Bias Hires Defendant Murphy

      29.   On or about November 19, 2015, Defendant Murphy accepted an offer of
employment with Collective Bias to serve as its Senior Director of Business Development.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 29, and therefore denies these allegations.


       30.     In exchange for the offer of new employment, Defendant Murphy was asked to (and
agreed to) sign an employment agreement (the “Employment Agreement”), a copy of which is
attached hereto as Exhibit A and incorporated herein by reference.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 30, and therefore denies these allegations.

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        31.   Following execution of the Employment Agreement, Defendant Murphy became a
fulltime employee of Collective Bias.

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 31, and therefore denies these allegations.


        32.    To facilitate the performance of her duties, Defendant Murphy was issued a keycard
to access Collective Bias’s secure facilities, issued a laptop computer on which to conduct
business, and provided with an email account and login credentials that provided her access to
Collective Bias’s interstate computer network. Defendant Murphy’s duties included using that
laptop, email account, login credentials, and interstate computer network to communicate with
Collective Bias’s employees, clients, and prospective clients, all of whom are and were at all
relevant times located nationwide.

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 32, and therefore denies these allegations.


       33.      As the Senior Director of Business Development, Defendant Murphy had numerous
responsibilities, including:

              a.      Being an expert on all things social media, Collective Bias history, product
                      offerings, positioning, pricing, and competitor differences;

              b.      Developing, managing, and tracking a territory/account plan to meet
                      quarterly and annual sales goals;

              c.      Effectively prospecting potential clients through personal consumer
                      packaged goods, retail, agency, and supplier networks and other lead
                      sources (including cold calling);

              d.      Understanding client business objectives, proposing and closing strategic
                      solutions leveraging Collective Bias products, rate card, budget template,
                      and timeline standards;

              e.      Retaining existing business and continually searching for ways to grow that
                      business;

              f.      Utilizing salesforce.com for prospect tracking, opportunity identification
                      and internal communication;

              g.      As the primary sales conduit for assigned clients, attending kick-off, post-
                      analysis and other important meetings with clients as a means to sell
                      additional Collective Bias services; and


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               h.      Collaborating with specified Client Services teams to oversee accounts
                       from proposal through post-analysis to resell.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 33, and therefore denies these allegations.


        34.     In that role, Defendant Murphy had access to and made use of Collective Bias’s
property and its confidential and proprietary information, including information regarding
Collective Bias’s product offering, positioning in the market, pricing, competitive differentiators,
territory and account plans, lead sources, client business objectives, rate cards, budget templates,
timeline standards, business opportunities, client lists, decision-maker contact information, and
research dossiers.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 34, and therefore denies these allegations.


       35.     Defendant Murphy also had access to the propriety aspects of the Social Fabric®
community, Shopper Social Media™ platform, and Prescriptive IQ™ platform, and used that
information in the performance of her duties.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 35, and therefore denies these allegations.


Inmar Acquires Collective Bias

        36.     Inmar is a technology and data science company with offices throughout the United
States that provides insights and solutions to the following groups:

               a.      to manufacturers to help them engage shoppers, optimize logistic
                       efficiencies, and protect assets;

               b.      to retailers to help them drive traffic, maximize storewide profitability, and
                       reduce unsaleable products;

               c.      to hospitals, health systems, and pharmacies to help them enhance
                       operations, protect profitability, and improve patient outcomes;

               d.      to government agencies to help them handle their revenue recovery,
                       inventory management, business analytics, and consumer technology
                       programs; and



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                  e.      to shoppers to help them access promotions, care for their families, and live
                          healthier lives.

ANSWER:           Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 36, and therefore denies these allegations.


       37.    In or around December 2016, Inmar acquired Collective Bias. After the transaction,
Collective Bias retained its name and continued to operate as its own entity, but its employees
were required to sign another agreement with Inmar-the Confidential and Proprietary Rights
Assignment Agreement (the “CAPRAA”).

ANSWER:           Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 37, and therefore denies these allegations.


       38.     In exchange for employment with Inmar and the additional benefits associated
therewith, Defendant Murphy was asked, and agreed, to sign the CAPRAA, a copy of which is
attached hereto as Exhibit B and incorporated herein by reference.

ANSWER:           Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 38, and therefore denies these allegations.


        39.    Defendant Murphy continued to have access to and use Collective Bias’s property
and its confidential and proprietary information, but now also had access to and used Inmar’s
property and confidential information.

ANSWER:           Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 39, and therefore denies these allegations.


Ahalogy and its Business

         40.   Ahalogy, like Collective Bias, is an influencer marketing company. It describes
itself as a company that “deliver[s] proven [return on investment] through category trend data,
authentic influencer content, and social optimization technology.”4

ANSWER:           Ahalogy denies the allegations contained in the first sentence of Paragraph 40

as an incomplete and therefore inaccurate characterization of the business of Ahalogy.


4
    http://www.ahalogy.com/about

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Ahalogy denies the allegations contained in the second sentence of Paragraph 40 as an

incomplete and inaccurate summary of statements on Ahalogy’s website. Ahalogy directs

Plaintiffs to the full contents of Ahalogy’s website for purposes of completeness and

accuracy.


         41.    Ahalogy engages in the same form of modern influencer marketing as does
Collective Bias. For example, Ahalogy highlights on its website a program it implemented for a
client, explaining: “When it comes to inspiring readers with one-of-a-kind recipes and new ways
to use their favorite products, influencers do it best. See how our Partners helped drive awareness
of 7UP at Target with our data-driven Brandables solution. The seasonal cocktail recipes were
inspired by ingredient trend data discovered in Muse.”5

ANSWER:           Ahalogy denies the first sentence of Paragraph 41.            Ahalogy denies the

allegations contained in the remaining sentences of Paragraph 41 as an incomplete and

inaccurate summary of the contents of Ahalogy’s website. Ahalogy directs Plaintiffs to the

full contents of Ahalogy’s website for purposes of completeness and accuracy.


        42.   One of those cocktail recipes was authored by “Madison” on her blog https://www.
joyfullymad.com, who describes herself as follows:

          Hey y’all! Welcome to A Joyfully Mad Kitchen, I’m so glad you found this space!
          I’m Madison and I am the recipe developer, taste-tester, food photographer, and
          writer behind this blog.

          On this blog you’ll find the tried and true recipes that my family and I eat and love
          to serve to friends and family. Each of the recipes on this blog is food that we
          actually eat in our house. With a toddler in our family, I’ll always try to share
          recipes that the whole family will enjoy - but I won’t blame you if you hide the
          cupcakes from your kids. I get it. ;)6

ANSWER:           Ahalogy admits that the quoted paragraphs appear on the website listed

above. Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

remaining allegations contained in Paragraph 42, and therefore denies these allegations.



5
    http://www.ahalogy.com/muse
6
    https://www.joyfullymad.com/about-me/

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       43.     The blog post on A Joyfully Made [sic] Kitchen that Ahalogy coordinated
explained what Madison liked about shopping at Target and why she used 7Up in her recipe (and
provided step- by-step instructions for creating a Cherry Sorbet Bellini party cocktail).7

ANSWER:            Ahalogy does not author the blog posts alleged in Paragraph 43, and lacks

knowledge as to the specific language used therein. Ahalogy directs Plaintiffs to the website

blog posts on “A Joyfully Mad Kitchen” for purposes of completeness and accuracy.

Ahalogy admits that it coordinated this specific blog post.


      44.     Ahalogy touts its own propriety services “Muse” and “Brandables,” and claims that
“Muse is the only place to find influencer trend data.”8

ANSWER:            Ahalogy admits that Muse and Brandables are its own proprietary products

that are noted on its website. Ahalogy directs Plaintiffs to the full contents of Ahalogy’s

website for purposes of completeness and accuracy of how it publicly describes these

products.


         45.    Ahalogy also expressly compares itself to Collective Bias when pitching new
clients, claiming that in a competition between the two, “Ahalogy wins” because its products are
supposedly more effective in reaching potential consumers.

ANSWER:            Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 45, and therefore denies these allegations


       46.     Ahalogy also offers products and services that compete with Inmar’s products and
services, claiming to have access to significant amounts of data that permit it to advise on
engagement with shoppers and help retailers drive traffic and maximize storewide profitability.

ANSWER:            Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 46, and therefore denies these allegations




7
    https://www.joyfullymad.com/cherry-sorbet-bellini/
8
    http://www.ahalogy.com/muse

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Defendant Murphy Leaves Plaintiffs for Ahalogy

       47.     Defendant Murphy knew that Ahalogy was a direct competitor of Plaintiffs—she
was told precisely that by another employee of Plaintiffs. Indeed, she publicly admitted in January
2018 that she has been in the same line of work for the last five years: influencer marketing.9

ANSWER:            Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 47, and therefore denies these allegations.


        48.   Nevertheless, on or about July 12, 2017, and for the express purpose of discussing
potential employment at Ahalogy, Defendant Murphy authorized a recruiter from a talent firm
called Hunt Club to contact her at the work email address provided to her by Collective Bias.

ANSWER:            Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 48, and therefore denies these allegations.


       49.    Indeed, when she authorized the recruiter to reach out to her, Defendant Murphy
knew that the recruiter was reaching out regarding the position of Director of Sales – West at
Ahalogy, and she knew that the role would entail leading sales efforts to grow Ahalogy’s influencer
and content marketing business: the email she received included a detailed job description.

ANSWER:            Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 49, and therefore denies these allegations.


       50.     The job description and qualifications for the role at Ahalogy that Defendant
Murphy received is nearly identical to the job description for the role she held at Collective Bias
(copies of which are attached as Exhibits C and D):

           Collective Bias: A Director of Business Development builds relationships and
           closes business for Collective Bias. This position will ideally be part “hunter”/part
           “strategist”. Typical clients consist of shopper marketing budget holders at brands
           (primarily CPG), brands themselves, retailers and agencies. Direct contacts are
           usually at senior manager/director level positions, but also include VP/CMO. A
           Director of Business Development at CB should have an entrepreneurial spirit, be
           a good listener, lean in mentality and be passionate about social media.

           Ahalogy: As a Sales Director at Ahalogy you will lead all sales efforts to grow their
           influencer and Content Marketing business with large brands and agencies in the
           Western region. Sales Directors are the backbone of each region, acting as the first
           line of offense in territory account acquisition. The focus of the role is on opening

9
    http://www.ahalogy.com/blog/the-new-ahalogists-were-expanding-our-team-in-cincinnati-3

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       new relationships and delivering a growing amount of RFP opportunities from the
       agencies and brands you have met with. You will be supported by strong, dedicated
       SDR and Client Success resources, which help secure meetings and deliver
       proposals.

ANSWER:        Ahalogy denies the allegations contained in Paragraph 50.


       51.     Likewise, the description of duties and qualifications overlap, with some examples
highlighted below:

                          Ahalogy                                   Collective Bias

        “Fluency in digital media vernacular with “Be an expert on all things social media”
        a deep interest in native social platforms and knowledge and understanding of social
        (e.g., Pinterest, Twitter, Facebook)”      media platforms”

        “Act as a first line of offense for product “Be an expert on . . . product offering,
        demos,     proposals,      pricing”     and positioning, pricing, and competitor
        “evangelize the Ahalogy solution”           differences”

        “Prospect within the Western territory”        “Effectively prospect potential clients”

        “Meet and exceed individual and team “Develop, manage, and track a
        revenue targets”                     territory/account plan to meet quarterly and
                                             annual sales goals”

        “Experience routinely closing five and six- “Proven ability to identify and close
        figure contracts”                           $100K+ deals”

        “Preferred experience with CPG and Retail “Typical clients consist of shopper
        Brands,     and    Shopper     marketing marketing budget holders at brands
        experience”                               (primarily CPG), brands themselves,
                                                  retailers and agencies”

ANSWER:        Ahalogy denies the allegations contained in Paragraph 51.


        52.     Shortly thereafter, Ahalogy interviewed Defendant Murphy and eventually offered
her the role of Director of Sales at Ahalogy. Their reasoning for doing so was clear in their job
description—if the Director of Sales was to be the “first line of offense,” there could be no better
weapon than an employee who held that same role at their main competitor.

ANSWER:        Ahalogy admits the allegations contained in the first sentence of Paragraph 52.

Ahalogy denies the remaining allegations contained Paragraph 52.


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       53.   Defendant Murphy did not inform Plaintiffs of her impending departure until early
evening on August 24, 2017.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 53, and therefore denies these allegations.


        54.     After accepting the offer from Ahalogy but prior to notifying Plaintiffs, Defendant
Murphy, for her own personal benefit and for the benefit of Ahalogy, accessed and collected
Plaintiffs’ confidential information using her credentials to access Plaintiffs’ computer systems
and facilities, her work-issued computer, and her Collective Bias email account. Those actions
included (but were not limited to) sending the following information to her personal email account:

               a.     On August 4, 2017, Defendant Murphy forwarded an internal email from
                      earlier that day containing (i) the names and contact information for
                      decision-makers at a client, (ii) an explanation of the service Plaintiffs were
                      offering and how the service worked, and (iii) a summary of Plaintiffs’
                      discussions with the client and the business development plans for this
                      client.

               b.     On August 14, 2017, Defendant Murphy forwarded an internal email from
                      earlier that week containing research conducted by Plaintiffs regarding the
                      nationwide distribution of brand names for a client and discussing how this
                      research would be helpful for more accurate targeting.

               c.     Later that same day, Defendant Murphy forwarded another internal email
                      from earlier that week containing (i) research conducted by Plaintiffs
                      regarding a client’s pricing and marketing strategies, and (ii) a discussion
                      regarding opportunities for Plaintiffs to pitch their business or modify their
                      pitch to the client based on such research.

               d.     On August 15, 2017, Defendant Murphy forwarded an internal email from
                      earlier that day containing (i) Plaintiffs’ research regarding a client’s
                      challenges with regard to sales, and (ii) a discussion regarding how
                      Plaintiffs should respond.

               e.     On August 17, 2017, Defendant Murphy forwarded an internal email from
                      the prior day containing (i) Plaintiffs’ research regarding a client’s
                      marketing priorities, (ii) a discussion regarding how Plaintiffs should
                      respond, and (iii) a list of over a dozen potential clients with whom Plaintiffs
                      had recently been negotiating.

               f.     Shortly thereafter, Defendant Murphy forwarded an internal email from that
                      morning containing (i) Plaintiffs’ research regarding developments in a
                      subset of the beverage industry and (ii) the identity of a contact to provide
                      leads for new business.


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               g.     Later that afternoon, Defendant Murphy forwarded an internal email chain
                      dating back to July 2017 between Defendant Murphy and two points of
                      contact at a client containing (i) Plaintiffs’ marketing strategy and talking
                      points for pitching business, (ii) the names and contact infom1ation for
                      decision-makers at the client, and (iii) a discussion regarding the client’s
                      use of influencer marketing.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 54, and therefore denies these allegations.


        55.      It was not until early evening on August 24, 2017, that Defendant Murphy tendered
her letter of resignation, effective immediately. And yet, that same day she continued forwarding
emails to her personal account. Indeed, she forwarded one from earlier that month (containing
detailed research regarding a client’s media and marketing strategy and a discussion of the impact
on Plaintiffs’ business strategy) less than an hour before she tendered her resignation.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 55, and therefore denies these allegations.


       56.    Upon her arrival at Ahalogy, Defendant Murphy immediately began using the
information she had stolen from Plaintiffs for her benefit and the benefit of Ahalogy.

ANSWER:        Ahalogy denies the allegations contained in Paragraph 56.


        57.     For example, minutes before she tendered her resignation on August 24, 2017,
Defendant Murphy had reached out to inform a specific client of Plaintiffs that she was leaving
Plaintiffs. Roughly a month later and after she had joined Ahalogy, she reached out to this same
client directly to inform the client that she had moved to Ahalogy, requested a meeting to pitch
Ahalogy’s services, and included a paragraph-long description explaining “What Makes Ahalogy
different”—the clear implication being that what made Ahalogy different is also what made
Ahalogy better than Plaintiffs.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 57, and therefore denies these allegations.


The Terms of the Employment Agreement

       58.    The Employment Agreement with Collective Bias that Defendant Murphy signed
includes a “Confidentiality” provision pursuant to which Defendant Murphy acknowledged and
agreed that in the course of her employment, she would have access to broad categories of
“Confidential and Propriety Information” (as defined therein) and that she would treat such

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information as confidential, not use such information except in furtherance of the business of
Collective Bias, and not deliver copies of the information to anyone except to the extent authorized
by Collective Bias or required in the ordinary course of her employment.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 58, and therefore denies these allegations. Ahalogy

further denies any attempt by Plaintiffs to summarize or re-characterize the language used

in any legal agreement and refers to the entirety of the agreement for completeness and

accuracy of its contents and the legal implications thereof.


        59.    The Employment Agreement includes a “Client Information” provision pursuant to
which Defendant Murphy acknowledged and agreed that in the course of her employment, she
would have access to broad categories of confidential information of Collective Bias’s clients, and
that she would not disclose such information to anyone without Collective Bias’s consent, and that
upon termination of her employment, she would return to Collective Bias “all property of any
client or prospective client of Employer” that was in her possession.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 59, and therefore denies these allegations. Ahalogy

further denies any attempt by Plaintiffs to summarize or re-characterize the language used

in any legal agreement and refers to the entirety of the agreement for completeness and

accuracy of its contents and the legal implications thereof.


        60.    The Employment Agreement includes an “Employer Property” provision pursuant
to which Defendant Murphy acknowledged and agreed that all property of Collective Bias
(including customer lists and other items relating to the business of Collective Bias) coming into
her possession during the course of her employment would remain the property of Collective Bias,
and that upon termination of her employment, she would return it to Collective Bias
“immediately.”

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 60, and therefore denies these allegations. Ahalogy

further denies any attempt by Plaintiffs to summarize or re-characterize the language used



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in any legal agreement and refers to the entirety of the agreement for completeness and

accuracy of its contents and the legal implications thereof.


         61.  The Employment Agreement also includes a “Restrictive Covenants” provision
pursuant to which Defendant Murphy acknowledged and agreed to the following reasonable
restrictions:

              a.     NON-COMPETE. Employee agrees that during the term of employment
                     and for a period of one (1) year following the termination of Employee’s
                     employment, with or without cause, with or without notice, by either party,
                     Employee will not, directly or indirectly, render services to any social media
                     or shopper marketing company or agency in the United States that is a direct
                     competitor to any account to which Employee was principally assigned at
                     any point during the twelve (12) month period preceding his/her separation
                     with the Company.

              b.     Employee agrees that during the term of employment and for a period of
                     one (1) year, following the termination of Employee’s employment, with or
                     without cause, with or without notice, by either party, Employee will not,
                     directly or indirectly solicit any customer or potential customer of Employer
                     with whom Employee had contact or for whose account Employee worked
                     during the last twelve (12) months of Employee’s employment with
                     Employer.

              c.     Employee agrees that for a period of one (1) year following the termination
                     of Employee’s employment, with or without cause, with or without notice,
                     by either party, Employee will not, directly or indirectly attempt to
                     encourage, induce, or otherwise solicit, directly or indirectly, any other
                     employee of Employer to breach his or her employment agreement with
                     Employer or to otherwise interfere with the advantageous business
                     relationship of Employer with its employees.

              d.     Employee further acknowledges that: (1) in the event his/her employment
                     with the Employer terminates for any reason, he/she will be able to earn a
                     livelihood without violating the foregoing restrictions and that (2) that
                     his/her ability to earn a livelihood without violating such restrictions is a
                     material coordination to his/her employment with Employer.

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 61, and therefore denies these allegations and further

denies that the alleged agreement is reasonable. Ahalogy further denies any attempt by

Plaintiffs to summarize or re-characterize the language used in any legal agreement and

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refers to the entirety of the agreement for completeness and accuracy of its contents and the

legal implications thereof.


       62.     Defendant Murphy also agreed that any breach by her of the Employment
Agreement could not reasonably or adequately be compensated in damages in an action at law,
and that Collective Bias would be entitled to an injunctive relief to vindicate its rights under the
Employment Agreement.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 62, and therefore denies these allegations. Ahalogy

further denies any attempt by Plaintiffs to summarize or re-characterize the language used

in any legal agreement and refers to the entirety of the agreement for completeness and

accuracy of its contents and the legal implications thereof.


The Terms of the CAPRAA

        63.    The CAPRAA that Defendant Murphy also signed includes a “Disclosure and
Usage Restrictions” provision pursuant to which Defendant Murphy acknowledged and agreed
that she would not disclose or permit access to the “Confidential Information” (as defined therein)
of Inmar and its subsidiaries (the “Company”) except to other employees in the good faith
performance of her employment duties or with the authorization of the Company, and that she
“would not use the Company’s Confidential Information for any purpose other than performing
services for and on behalf the Company” within the proper scope of her job duties.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 63, and therefore denies these allegations


       64.    The CAPRAA includes a “Publications” provision pursuant to which Defendant
Murphy acknowledged and agreed that she would not publish or submit for publication or
otherwise share the Company’s Confidential Information because such disclosure could cause
harm to the Company, including “by eliminating or diminishing the Company’s or its Affiliates’
competitive advantage.”

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 64, and therefore denies these allegations. Ahalogy

further denies any attempt by Plaintiffs to summarize or re-characterize the language used

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in any legal agreement and refers to the entirety of the agreement for completeness and

accuracy of its contents and the legal implications thereof.


       65.     The CAPRAA includes a “Confidential Treatment of Third Party Information”
provision pursuant to which Defendant Murphy acknowledged and agreed that in the course of her
employment, she would have access to broad categories of confidential information of third parties
(such as the Company’s clients), and that she would hold such information in the strictest
confidence and not use that information unless such use is permitted by the Company or the third
party.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 65, and therefore denies these allegations.


        66.    The CAPRAA includes a “Tangible Materials” provision pursuant to which
Defendant Murphy acknowledged and agreed that the Company retained sole ownership rights in
all tangible materials provided to her by the Company and all tangible embodiments of and copies
of “Proprietary Work Product” (as defined therein) and the Company’s Confidential Information.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 66, and therefore denies these allegations.


       67.      The CAPRAA includes a “General Duty of Loyalty Provision” pursuant to which
Defendant Murphy acknowledged and agreed that during her period of employment, she owed the
Company a general duty of loyalty, and further acknowledged and agreed that (among other things)
she would not (i) usurp or divert for her own account or for any third party any business opportunity
or potential business opportunity for the Company, (ii) interfere with the Company’s existing
business relationships, or (iii) compete against the Company’s then-existing business or business
plans.

ANSWER:        Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 67, and therefore denies these allegations.


      68.    The CAPRAA also includes a “Covenant Not To Compete” provision pursuant to
which Defendant Murphy agreed to the following reasonable restrictions:

       You covenant and agree that during the “Non-Competition Period” and within the
       “Non-Competition Area,” as defined below, you shall not engage in the “Business,”
       as defined in Section 11 below in the same or substantially similar capacity in which
       you engaged in the Business on behalf of the Company. Specifically, but without
       limiting the foregoing, you agree that during such period and within such area, you
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       shall not do any of the following: (a) be an owner of any capital stock, other equity
       securities or ownership interests of any Business Entity (as defined herein) that
       conducts a business of a like or similar nature to the business; provided however
       that you may own up to five percent (5%) of the stock of a corporation traded on a
       national securities market in the United States of America or Canada; or (b) be an
       employee, officer, director, principal, agent, consultant, lender to, independent
       contractor or trustee of any Business Entity or other person that conducts a business
       of a like or similar nature to the business.

ANSWER:       Ahalogy denies the restrictions are reasonable. Ahalogy lacks knowledge

sufficient to form a belief to admit or deny as to the remaining allegations contained in

Paragraph 68, and therefore denies these allegations. Ahalogy further denies any attempt

by Plaintiffs to summarize or re-characterize the language used in any legal agreement and

refers to the entirety of the agreement for completeness and accuracy of its contents and the

legal implications thereof.


       69.     The CAPRAA defines “Business Entity” as “[a]ny corporation, sole proprietorship,
general or limited partnership, limited liability company, joint venture, trust, unincorporated
association or any other business entity.”

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 69, and therefore denies these allegations


       70.    The CAPRAA defines “Non-Competition Period” as follows:

       [T]he period of your employment with the Company (the “Employment Term”)
       and for a period of two (2) years after termination of the employment relationship
       between the parties for any reason (such period not to include any period(s) of
       violation or period(s) of time required for litigation to enforce the covenants set
       forth herein.)

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 70, and therefore denies these allegations.




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      71.    The CAPRAA defines “Non-Competition Area” as “the entire United States of
America and Canada” based on Defendant Murphy’s acknowledgement and agreement that:

       [T]he Company does business on a nationwide basis in the United States of
       America and Canada, and that a breach of your covenants contained herein would
       immeasurable and irreparably damage the Company, regardless of the area in which
       the competing business is located in which the activities constituting such breach
       were to occur.

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 71, and therefore denies these allegations.


        72.    The CAPRAA defines “Business” as “any business or service engaged in, as well
as any new products or service offerings for which there is substantial development or market
launch plans, by the Company or any of its Affiliates for which you have provided services during
the term of your employment.”

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 72, and therefore denies these allegations.


      73.    The CAPRAA also includes a “Non-Solicitation Covenant” provision pursuant to
which Defendant Murphy agreed to that during the Non-Competition Period, she would not:

              a.      [F]or yourself, or on behalf of any other person or Business Entity solicit,
                      divert or take away, or attempt to solicit, divert, or take away any of the
                      customers, or prospective customers of the Company with whom you had
                      contact during the twelve (12) months prior to the termination of your
                      employment relationship with the Company; or (b) induce (or assist any
                      other person to induce) any person to leave the employ of the Company.

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 73, and therefore denies these allegations.


       74.    Defendant Murphy agreed that the foregoing restrictions are reasonable.

ANSWER:       Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the

allegations contained in Paragraph 74, and therefore denies these allegations.




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                                         COUNT I
             Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq.
                               (Against Murphy and Ahalogy)

       75.     Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:       Ahalogy re-alleges and incorporates by reference each and every foregoing

answer as though set forth fully herein.


       76.    The Defend Trade Secrets Act prohibits the misappropriation of trade secrets.

ANSWER:       Ahalogy admits the allegations contained in Paragraph 76.


       77.     Plaintiffs have developed and own valuable trade secrets related to products and
services used in, or intended for use in, interstate or foreign commerce.

ANSWER:       Ahalogy denies the allegations contained in Paragraph 77.


       78.     Those trade secrets are financial, business, scientific, technical, economic, and
engineering information, including patterns, plans, compilations, program devices, formulas,
designs, prototypes, methods, techniques, processes, procedures, programs, and codes, both
tangible and intangible and stored, compiled, and memorialized physically, electronically,
graphically, and photographically, and include:

              a.      Customer information, including the identity of current, former, and
                      prospective customers and the identity of and contact information for the
                      decision-makers at the customers;

              b.      Influencer information, including the identity of current, former, and
                      prospective influencers, and the contact information for the influencers;

              c.      Business intelligence and research regarding current, former, and
                      prospective customers, including their marketing and sales strategies; and,

              d.      Information regarding Collective Bias’s product offerings (including the
                      design and functionalities of its Shopper Social Media™ platform,
                      Prescriptive IQ™ platform, and Social Fabric® community), positioning in
                      the market, pricing, competitive differentiators, territory and account plans,
                      lead sources, rate cards, budget templates, timeline standards, business
                      opportunities, and research dossiers.

ANSWER:       Ahalogy denies the allegations contained in Paragraph 78.


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        79.     This information has value because it is not generally known and is not readily
ascertainable. Plaintiffs have spent a significant amount of time and devoted substantial resources
to developing this information, and through it Plaintiffs are able to operate and grow their business
in a way that is difficult for their competitors to duplicate.

ANSWER:        Ahalogy denies the allegations contained in Paragraph 79.


        80.     Because this information has value by virtue of its secrecy, and Plaintiffs have taken
reasonable measures to keep it secret. Those measures include implementing policies intended to
support Plaintiffs’ efforts to maintain the secrecy of their trade secrets; limiting access to hardware,
software, and physical locations using passwords, keys, key cards, and security personnel;
terminating access to confidential information at the conclusion of employment and requiring its
return; and procuring nondisclosure, non-solicitation, and noncompetition agreements.

ANSWER:        Ahalogy denies the allegations contained in the first sentence of Paragraph 80.

Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the allegations

contained in the second sentence of Paragraph 80, and therefore denies these allegations.


       81.    Defendants have obtained economic benefit from the theft of these trade secrets,
including winning new customers based on the unauthorized disclosure and use of the information.

ANSWER:        Ahalogy denies the allegations contained in Paragraph 81.


        82.    Defendants used improper means to acquire these trade secrets knowing (and
having reason to know) that the acquisition was improper. Indeed, despite being obligated to
maintain the confidentiality of the information, and after accepting the offer of employment with
Ahalogy but before ending her employment relationship with Plaintiffs, Defendant Murphy
accessed Plaintiffs’ systems without authorization and/or exceeding her authorization, collected
this information, and emailed it to her personal email account in order to benefit herself and
Ahalogy.

ANSWER:        Ahalogy denies the allegations contained in the first sentence of Paragraph 82.

Ahalogy lacks knowledge sufficient to form a belief to admit or deny as to the allegations

contained in the second sentence of Paragraph 82, and therefore denies these allegations.


       83.    As a result of Defendants’ unlawful actions, Plaintiffs have suffered harm,
including the loss of business and the diminution in value of their confidential information,
damaging Plaintiffs in an amount to be determined at trial.

ANSWER:        Ahalogy denies the allegations contained in Paragraph 83.
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                                          COUNT II
              Violation of the Illinois Trade Secrets Act, 765 ILCS 1065 et seq.
                               (Against Murphy and Ahalogy)

       84.     Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:       Ahalogy re-alleges and incorporates by reference each and every foregoing

answer as though set forth fully herein.


       85.    The Illinois Trade Secrets Act also prohibits the misappropriation of trade secrets.

ANSWER:       Ahalogy admits the allegations contained in Paragraph 85.


       86.    As a result of Defendants’ unlawful actions, Plaintiffs have suffered harm,
including the loss of business and the diminution in value of their confidential information,
damaging Plaintiffs in an amount to be determined at trial.

ANSWER:       Ahalogy denies the allegations contained in Paragraph 86.


                                        COUNT III
                             Breach of Contract (Michigan Law)
                                     (Against Murphy)

       87.     Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:       Count III is not directed to Ahalogy therefore no answer is required.


       88.     A breach of contract occurs under Michigan law (the law by which the parties
agreed the Employment Agreement would be governed) where there was a contract which the
other party breached thereby resulting in damages to the party claiming a breach.

ANSWER:       Count III is not directed to Ahalogy therefore no answer is required.


      89.    On or about November 19, 2015, Defendant Murphy and Collective Bias (both of
whom were competent to enter into a binding agreement) entered into a valid, enforceable contract
when they each signed the Employment Agreement signifying their intent to be bound by the
Employment Agreement.

ANSWER:       Count III is not directed to Ahalogy therefore no answer is required.


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        90.    The Employment Agreement was supported by valid consideration. Among other
things, and pursuant to the terms of the Employment Agreement (summarized herein), Collective
Bias agreed to employ Defendant Murphy in exchange for Defendant Murphy’s agreement to:

               a.      Maintain the confidentiality of Collective Bias’s Confidential or Proprietary
                       Information and its client’s confidential information;

               b.      At the conclusion of her employment, return to Collective Bias all of
                       Collective Bias’s property and all Confidential or Proprietary Information;

               c.      At the conclusion of her employment, and for a period of one year
                       thereafter, not directly or indirectly compete with Collective Bias per the
                       terms of the Employment Agreement; and,

               d.      At the conclusion of her employment, not directly or indirectly solicit any
                       customer or potential customer of Collective Bias per the terms of the
                       Employment Agreement.

ANSWER:        Count III is not directed to Ahalogy therefore no answer is required.


      91.     Defendant Murphy expressly agreed that these restrictions were reasonable and
would not preclude her from earning a livelihood.

ANSWER:        Count III is not directed to Ahalogy therefore no answer is required.


        92.     Defendant Murphy also agreed that any breach could not reasonably or adequately
be compensated in damages in an action at law, and that Collective Bias would be entitled to
injunctive relief for any breach.

ANSWER:        Count III is not directed to Ahalogy therefore no answer is required.


      93.   These terms of the Employment Agreement survived the termination of Defendant
Murphy’s employment.

ANSWER:        Count III is not directed to Ahalogy therefore no answer is required.


         94.     Notwithstanding the foregoing agreement, and in breach thereof, Defendant
Murphy, immediately following the end of her employment relationship with Plaintiffs and before
the expiration of one year, began working for Ahalogy—a social media and marketing company
that is a direct competitor of Collective Bias-and soliciting the business of customers and potential
customers of Collective Bias with whom she had contact or for whose account she worked during
the twelve months immediately preceding the termination of the employment relationship.

ANSWER:        Count III is not directed to Ahalogy therefore no answer is required.

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        95.     In further breach of the Employment Agreement, Defendant Murphy also
personally collected, and failed to return to Collective Bias upon the termination of the
employment relationship, Collective Bias’s property and Confidential or Proprietary Information
and its clients’ confidential information; delivered and disclosed to Ahalogy the property and
information; and employed it for her benefit and the benefit of Defendant Ahalogy rather than for
the sole furtherance of the business of Collective Bias.

ANSWER:       Count III is not directed to Ahalogy therefore no answer is required.


       96.     As a direct result of these breaches of the Employment Agreement, Plaintiffs have
suffered harm, including the loss of business and the diminution in value of the Confidential or
Proprietary Information, damaging Plaintiffs in an amount to be determined at trial.

ANSWER:       Count III is not directed to Ahalogy therefore no answer is required.


                                       COUNT IV
                Breach of Contract (North Carolina Law) (Against Murphy)

       97.     Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:       Count IV is not directed to Ahalogy therefore no answer is required.


       98.   A breach of contract occurs under North Carolina law (the law by which the parties
agreed the CAPRAA would be governed) where there is a valid contract and that contract is
breached.

ANSWER:       Count IV is not directed to Ahalogy therefore no answer is required.


         99.     On or about December 27, 2016, Defendant Murphy and Inmar (both of whom were
competent to enter into a binding agreement) entered into a valid, enforceable contract when on
December 23, 2016 and December 27, 2016 they each respectively signed the CAPRAA signifying
their intent to be bound by the CAPRAA.

ANSWER:       Count IV is not directed to Ahalogy therefore no answer is required.


       100. The CAPRAA was supported by valid consideration. Among other things, and
pursuant to the terms of the CAPRAA (summarized herein) Inmar agreed to employ Murphy and
make available to her all the additional benefits of being employed by Inmar in exchange for
Defendant Murphy’s agreement to:

              a.      Maintain the confidentiality of Plaintiffs’ Confidential Information and
                      third parties’ confidential information;

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               b.     At the conclusion of her employment, return to Plaintiffs all of their
                      property and all Confidential Information;

               c.     Abide by her duty of loyalty to Plaintiffs;

               d.     Abide by the terms of the non-compete;

               e.     Abide by the terms of the non-solicitation.

ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


       101.    Defendant Murphy expressly agreed that these restrictions were reasonable.

ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


        102. Defendant Murphy also agreed that any breach of the CAPRAA could not
reasonably or adequately be compensated in damages in an action at law, and that Inmar would be
entitled to injunctive relief for any breach.

ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


      103. These terms of the CAPRAA survived the termination of Defendant Murphy’s
employment.

ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


        104. Notwithstanding the foregoing agreement, and in breach thereof, Defendant
Murphy, immediately following the end of her employment relationship with Plaintiffs and before
the expiration of two years, began (i) working in Chicago for Ahalogy and (on information and
belief) receiving stock in Ahalogy—a company that conducts a business of a like or similar nature
to the business services engaged in by Plaintiffs-in the same or substantially similar capacity in
which she worked for Plaintiffs, and (ii) soliciting the business of customers and prospective
customers of Plaintiffs with whom she had contact during the twelve months immediately
preceding the termination of the employment relationship.

ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


        105. In further breach of the CAPRAA, Defendant Murphy also personally collected and
failed to return to Plaintiffs upon the termination of the employment relationship Plaintiffs’
property and Confidential Information and confidential information of third parties; delivered and
disclosed to Ahalogy that property and information; and employed it for her benefit and the benefit
of Defendant Ahalogy rather than for the sole furtherance of the business of Plaintiffs.


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ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


       106. Defendant Murphy also violated her duty of loyalty by engaging in the conduct
described above.

ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


       107. As a direct result of these breaches of the CAPRAA, Plaintiffs suffered harm,
including the loss of business and the diminution in value of the Confidential Information,
damaging Plaintiffs in an amount to be determined at trial.

ANSWER:        Count IV is not directed to Ahalogy therefore no answer is required.


                                        COUNT V
          Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 et seq.
                              (Against Murphy and Ahalogy)

       108. Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


      109.     The Computer Fraud and Abuse Act prohibits unauthorized access of protected
computers.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


       110. As described above, Plaintiffs provided Defendant Murphy with a computer, an
email account, and access to Plaintiffs’ facilities and other computers for use in the performance
of her employment. That computer, email account, and access provided access to worldwide
communications through applications accessible via the internet.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


     111. Defendant Murphy used that computer, email account, and access to work and
communicate with clients and prospective clients located across the country, as well as work and

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communicate with Plaintiffs’ other employees also located across the country (including in Illinois,
in Arkansas, and in North Carolina) and to access Plaintiffs’ interstate computer network and
servers on which files were stored.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


        112. As detailed above, Defendant Murphy agreed in the Employment Agreement and
CAPRAA to return Plaintiffs’ property at the conclusion of her employment, maintain the
confidentiality of the Confidential or Proprietary Information and Confidential Information, and
not access or use the information except in the course of her employment for the benefit of
Plaintiffs. Defendant Murphy also owed Plaintiffs a duty of loyalty. Defendant Murphy’s use of
her computer and email account and access to facilities and other computers was limited by these
obligations.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


        113. Defendant Murphy, however intentionally used her computer, email account, and
Plaintiffs’ facilities and other computers for a different purpose (which she accomplished): to
obtain Plaintiffs’ Confidential or Proprietary Information and Confidential Information for her
own enrichment and that of Defendant Ahalogy. That access therefore was intentional, without
authorization, and/or exceeded her authorized access.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


       114. These actions caused damage and loss. The loss includes the cost of responding to
the Defendants’ unlawful actions and conducting damage assessment, which is ongoing and will
exceed $5,000 well before the expiration of a one year period.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


      115. Defendant Ahalogy conspired with Defendant Murphy in the commission of these
unlawful acts.

ANSWER:        Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.
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      116. Defendants therefore violated 18 USC §§ 1030(a)(2)(C), (a)(5)(C), and (b),
damaging Plaintiffs in an amount to be determined at trial.

ANSWER:       Ahalogy is not required to provide an answer to Count V, as this claim has

been dismissed by the Court.


                                        COUNT VI
                            Tortious Interference with Contract
                                     (Against Ahalogy)

       117. Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:       Ahalogy re-alleges and incorporates by reference each and every foregoing

answer as though set forth fully herein.


      118.    As detailed above, valid contracts existed between Plaintiffs and Defendant
Murphy.

ANSWER:       Ahalogy denies the allegations contained in Paragraph 118 of the Complaint.


      119. Defendant Ahalogy was aware of these contracts, but nevertheless hired Defendant
Murphy with the knowledge and intent that Defendant Murphy would breach those contracts as its
new Director of Sales.

ANSWER:       Ahalogy denies the allegations contained in Paragraph 119 of the Complaint.


        120. As detailed above, Defendant Murphy did breach those contracts, damaging
Plaintiffs in an amount to be determined at trial.

ANSWER:       Ahalogy denies the allegations contained in Paragraph 120 of the Complaint.


                                        COUNT VII
                                        Conversion
                               (Against Murphy and Ahalogy)

       121. Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.




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ANSWER:        Ahalogy is not required to provide an answer to Count VII, as this claim has

been dismissed by the Court.


        122. As detailed above, Defendant Murphy agreed in the Employment Agreement and
CAPRAA to return Collective Bias’s property at the conclusion of her employment, maintain the
confidentiality of the Confidential or Proprietary Information and Confidential Information, and
not access or use the information except in the course of her employment for the benefit of
Plaintiffs.

ANSWER:        Ahalogy is not required to provide an answer to Count VII, as this claim has

been dismissed by the Court.


        123. As also detailed above, Defendant Murphy, without authorization and/or exceeding
her authorization, obtained and failed to return Plaintiffs’ property and Confidential or Proprietary
Information and Confidential Information for her own enrichment and that of Defendant Ahalogy.

ANSWER:        Ahalogy is not required to provide an answer to Count VII, as this claim has

been dismissed by the Court.


      124. Plaintiffs had a right to the property and Confidential or Proprietary Information
and Confidential Information, and an unconditional right to the immediate possession of it.

ANSWER:        Ahalogy is not required to provide an answer to Count VII, as this claim has

been dismissed by the Court.


       125. By obtaining, using, and disclosing the property and information, the value of it has
already diminished such that its return would not alleviate Plaintiffs’ loss, damaging Plaintiffs in
an amount to be determined at trial.

ANSWER:        Ahalogy is not required to provide an answer to Count VII, as this claim has

been dismissed by the Court.


                                          COUNT VIII
                                      Trespass to Chattels
                                 (Against Murphy and Ahalogy)

       126. Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

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ANSWER:        Ahalogy is not required to provide an answer to Count VIII, as this claim has

been dismissed by the Court.


       127. By obtaining and failing to return Plaintiffs’ property and Confidential or
Proprietary Information and Confidential Information and instead using it for their own
enrichment, Defendants dispossessed Plaintiffs of the property and Confidential or Proprietary
Information and Confidential Information (because once used and disclosed, it no longer had the
value it did before Defendants’ unlawful actions), damaging Plaintiffs in an amount to be
determined at trial.

ANSWER:        Ahalogy is not required to provide an answer to Count VIII, as this claim has

been dismissed by the Court.


                                          COUNT IX
                                      Unjust Enrichment
                                 (Against Murphy and Ahalogy)

       128. Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:        Ahalogy is not required to provide an answer to Count IX, as this claim has

been dismissed by the Court.


        129. By virtue of having collected and used Plaintiffs’ property and Confidential or
Proprietary Information and Confidential Information, Defendants unjustly retained a benefit to
the detriment of Plaintiffs, and that retention violates fundamental principles of justice and equity.

ANSWER:        Ahalogy is not required to provide an answer to Count IX, as this claim has

been dismissed by the Court.


       130. In so doing, Defendants dispossessed Plaintiffs of the property and Confidential or
Proprietary Information and Confidential Information (because once used and disclosed, it no
longer had the value it did before her unlawful actions), damaging Plaintiffs in an amount to be
determined at trial.

ANSWER:        Ahalogy is not required to provide an answer to Count IX, as this claim has

been dismissed by the Court.



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                                           COUNT X
                                        Civil Conspiracy
                                 (Against Murphy and Ahalogy)

       131. Plaintiffs re-allege and incorporate by reference each and every foregoing
paragraph as though set forth fully herein.

ANSWER:        Ahalogy is not required to provide an answer to Count X, as this claim has

been dismissed by the Court.


        132. When, as detailed above, Defendants met and had discussions regarding hiring
Defendant Murphy for the role of Director of Sales, they formed an agreement to undertake all of
the foregoing unlawful conduct.

ANSWER:        Ahalogy is not required to provide an answer to Count X, as this claim has

been dismissed by the Court.


       133. The foregoing unlawful conduct (such as Defendant Murphy accessing Plaintiffs’
systems to obtain Plaintiffs’ property and Confidential or Proprietary Information and Confidential
Information for Defendants’ use) was taken in furtherance of that agreement.

ANSWER:        Ahalogy is not required to provide an answer to Count X, as this claim has

been dismissed by the Court.


       134.    Plaintiffs have been damaged as a result in an amount to be determined at trial.

ANSWER:        Ahalogy is not required to provide an answer to Count X, as this claim has

been dismissed by the Court.


       WHEREFORE, Defendant Ahalogy respectfully requests that this Court deny all of the

relief Plaintiffs have requested, enter judgment in favor of Defendant on all counts of the

Complaint, and grant any further or relief that the Court deems just and proper.


                                  JURY TRIAL DEMANDED

       Defendant requests a trial by jury of all issues so triable.


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                       ADDITIONAL OR AFFIRMATIVE DEFENSES

       Without admitting or conceding any matter, Ahalogy asserts the following defenses in

response to the allegations of the Complaint, and without accepting the burden of proof on any

matter unless the law providing for the defense actually places the burden on a defendant. As the

factual basis for these affirmative defenses, Ahalogy refers to and incorporates herein as applicable

the allegations of Ahalogy’s answers and denials as set forth in its Answer to Plaintiffs’ Complaint.


                                       FIRST DEFENSE
                                     (Prior material breach)

       1.      Plaintiffs are precluded from bringing any claims based upon their material breach

of the CAPRAA, and are likewise precluded from suing Ahalogy on that basis when they

themselves have not complied with the agreement. Upon information and belief, as an inducement

for Defendant Murphy to sign one or more restrictive covenants, Plaintiffs informed Defendant

Murphy at the time of her signature that only a specific list of companies were considered

competitors covered by the non-compete in the CAPRAA.

       2.      Specifically on November 30, 2016, Angelique O’Bryan, Director of Human

Resources and Operations, sent an email to all Collective Bias employees stating: “Many of you

have asked for this direct competitor list to reference when reviewing the CAPRAA document that

Inmar provided. Please review and let me know if you have any questions!” Ahalogy was not on

the attached list of competitors.

       3.      Upon information and belief, Defendant Murphy was induced by this

representation to agree to the restrictive covenants in these agreements and notwithstanding

Plaintiffs’ representation, Plaintiffs sued Defendant Murphy and thereby materially breached the

terms of her agreement with Plaintiffs. As a result, Plaintiffs are precluded from enforcing the



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restrictive covenants in these agreements against Defendant Murphy and therefore are precluded

from bringing interference claims against Ahalogy.

                                      SECOND DEFENSE
                                        (Unclean Hands)

       4.      Plaintiffs are precluded from enforcing any of their claims based upon the doctrine

of unclean hands, and based upon the same facts as stated in Affirmative Defense 1.

                                    THIRD DEFENSE
            (Collective Bias Agreement as Unenforceable as Against Public Policy)

       5.      Plaintiffs’ attempt to enforce the restrictive covenants in the Collective Bias

Agreement violates the public policy of Illinois, as these covenants are unreasonable, vague and

unenforceable restraints on trade. Illinois disfavors the enforcement of restrictive covenants with

other state choice of law clauses, where the covenants violate the public policy of Illinois.

                                      FOURTH DEFENSE
                                      (Failure to Mitigate)

       6.      Plaintiffs have failed to mitigate any alleged damages they have suffered as a result

of any alleged interference on the part of Ahalogy.

       7.      Upon information and belief, Plaintiffs knew of Defendant Murphy’s employment

with Ahalogy shortly after she started but neglected to take any action to advise Defendant

Ahalogy of its alleged claims for nearly eight months after Defendant Murphy began her

employments with Ahalogy.

       8.      To the extent Plaintiffs suffered any actual harm or damage during those nearly

eight months, Ahalogy cannot be held responsible as it was unaware of Plaintiffs claims that

Defendant Murphy was in violation of any agreement or that she still possessed alleged trade secret

information.




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                                     FIFTH DEFENSE
            (Collective Bias Agreement Unenforceable as Superseded by CAPRAA)

       9.       The Collective Bias Agreement was superseded by the express terms of the

CAPRAA and is no longer enforceable as a matter of law. The parties contemplated that upon the

signing of the CAPRAA, the Collective Bias Agreement would no longer be enforceable as a

matter of law and would be the “entire agreement” between Plaintiffs and Defendant Murphy.

       10.      Therefore, Plaintiffs’ claims based upon the Collective Bias Agreement are

unenforceable against Defendant Murphy and are thereby incapable of being interfered with by

Ahalogy.

                                      SIXTH DEFENSE
            (Collective Bias Agreement Unenforceable Due to Lack of Consideration)

       11.      The Collective Bias Agreement is not supported by any adequate consideration

provided to Defendant Murphy at the time of her purported signature to these agreement. As a

result, none of the restrictive covenants contained in the Collective Bias Agreement are

enforceable as a matter of law.

       12.      Therefore, Plaintiffs’ claims based upon the Collective Bias Agreement are

unenforceable against Defendant Murphy and are thereby incapable of being interfered with by

Ahalogy.

                                SEVENTH DEFENSE
  (Collective Bias Agreement Unenforceable as to Injunctive Relief Due to Expiration of
                         Time Period in Restrictive Covenant)

       13.      Plaintiffs are precluded from seeking any injunctive relief against Defendants based

upon the fact that the restrictive covenants period in the Collective Bias Agreement have expired,

and Plaintiffs have never moved for any preliminary injunctive relief prior to the expiration of

these covenants. Thus, to the extent that the Collective Bias Agreement is enforceable, Plaintiffs’

right to seek injunctive relief based upon this contract has expired under the terms of the contract.

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                                   EIGHTH DEFENSE
                            (Laches and/or Unreasonable Delay)

          14.   Plaintiffs’ claims are precluded based upon the doctrine of laches and/or

unreasonable delay. Plaintiffs waited nearly eight months after Defendant Murphy resigned, and

after Plaintiffs have knowledge that Defendant Murphy was hired by Ahalogy, before Plaintiffs

brought this litigation. Plaintiffs’ unreasonable delay in bringing this lawsuit precludes their

claims.


  Dated: January 14, 2019                       Respectfully submitted,


                                               MLW SQUARED, INC., d/b/a AHALOGY


                                               By: /s/ Carrie A. Hall
                                                   One of Defendant MLW Squared, Inc.,
                                                   (d/b/a Ahalogy) attorneys

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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on January 14, 2019, I caused a true and correct copy

of the foregoing to be filed on the Court’s CM/ECF system, which served notice on all counsel of

record.



                                                   By: /s/ Carrie A. Hall




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